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        IN THE UNITED STATES DISTRICT COURT

        FOR THE SOUTHERN DISTRICT OF TEXAS

                     HOUSTON DIVISION


NATIONAL COALITION FOR MEN; Civil Action No. 4:16−cv−03362
ANTHONY DAVIS; AND JAMES
LESMEISTER, Individually and on
behalf of others similarly situated, Honorable Gray H. Miller

PLAINTIFFS,                             JOINT MEDIATION STATEMENT

  v.

SELECTIVE SERVICE SYSTEM;
LAWRENCE G. ROMO, as Director of
SELECTIVE SERVICE SYSTEM; and
DOES 1 through 50, Inclusive,


DEFENDANTS.
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      TO THE HONORABLE COURT:

      On December 13, 2018, counsel for all parties conferred by

telephone and agreed that mediation would not be appropriate in this

case because it is a legal challenge to the constitutionality of a federal

statute, see 50 U.S.C. § 451, and Defendants lack authority to set aside

or modify the statutorily imposed draft registration requirements by

settlement.

Dated: _______________         /s/Michael J. Gerardi_____________

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